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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Civil Action No. 17-cv-02335-MSK-KLM

  OMAR KALIL HASSAN,

         Plaintiff,

  v.

  MACHELLE WILLIBY, in her individual capacity; and
  LISA CALCAMUGGIO, in her individual capacity,

         Defendants.


       DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT AND JURY DEMAND


         COMES NOW, Defendants Machelle Williby (hereinafter “Defendant Williby”) and Lisa

  Calcamuggio (hereinafter “Defendant Calcamuggio”), by and through their respective undersigned

  counsel of record, and hereby answer and respond to Plaintiff’s Complaint and Jury Demand [Doc.

  No. 1] (“Complaint”) as follows:

                                     ANSWER TO COMPLAINT

         1.      Defendants admit the allegations and averments contained in paragraphs 1, 2, 5, 7,

  9, 15, 37, 43, 51, and 64 of the Complaint.

         2.      Defendants deny the allegations and averments contained in the introductory

  paragraph and paragraphs 11, 12, 13, 14, 18, 19, 20, 21, 22, 23, 24, 25, 28, 31, 33, 34, 35, 40, 41,

  42, 46, 47, 48, 49, 54, 55, 56, 57, 58, 59, 60, 61, 62, 67, 68, 69, 70, 71, 72, 73, 78, 79, 80, 81, 82,

  83, 84, 85, and 86 of the Complaint.

         3.      Paragraphs 36, 50, 63, and 74 of the Complaint are incorporation paragraphs

  requiring no response. To the extent any response is required, Defendants incorporate by reference
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  their responses to the allegations and averments contained in the Complaint, as though fully set

  forth herein.

         4.       Defendants are without sufficient knowledge or information to form a belief as to

  the truth of the allegations and averments contained in paragraphs 4, 26, 27, 29, 30, 32, and 77 of

  the Complaint, and therefore deny the same.

         5.       Paragraphs 38, 39, 44, 45, 52, 53, 65, 66, 75, and 76 of the Complaint state a legal

  conclusion to which no response is required. To the extent a response is required, Defendants

  deny the allegations and averments contained in Paragraphs 38, 39, 44, 45, 52, 53, 65, 66, 75, and

  76 of the Complaint.

         6.       With respect to the allegations and averments contained in paragraph 3 of the

  Complaint, Defendants, upon information and belief, admit the same.

         7.       With respect to the allegations and averments contained in paragraph 6 of the

  Complaint, Defendants admit only that Defendant Calcamuggio was an Aurora Police Officer at

  all relevant times; that Defendant Calcamuggio is a resident of, and domiciled in, the State of

  Colorado; at all relevant times was acting under color of state law as a law enforcement officer for

  Aurora, Colorado; and Defendant Calcamuggio is being sued in her individual capacity.

  Defendants deny the remaining allegations and averments contained in paragraph 6 of the

  Complaint.

         8.       With respect to the allegations and averments contained in paragraph 8 of the

  Complaint, Defendants admit only that Mr. Hassan was dressed in a hooded sweatshirt. Defendants

  are without sufficient knowledge or information to form a belief as to the truth of the remaining

  allegations and averments contained in paragraph 8 of the Complaint, and therefore deny the same.
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         9.      With respect to the allegations and averments contained in paragraph 10 of the

  Complaint, Defendants admit only that Mr. Hassan purchased a muffin. Defendants are without

  sufficient knowledge or information to form a belief as to the truth of the remaining allegations

  and averments contained in paragraph 10 of the Complaint, and therefore deny the same.

         10.     With respect to the allegations and averments contained in paragraph 16 of the

  Complaint, Defendants admit only that Defendants approached Mr. Hassan’s table to speak to him.

  Defendants deny the remaining allegations and averments contained in paragraph 16 of the

  Complaint.

         11.     With respect to the allegations and averments contained in paragraph 17 of the

  Complaint, Defendants admit only that Defendant Williby stood near the table Mr. Hassan was

  seated at and Defendant Calcamuggio stood behind Defendant Williby. Defendants deny the

  remaining allegations and averments contained in paragraph 17 of the Complaint.

                              ANSWER TO PRAYER FOR RELIEF

         The Prayer for Relief in the Complaint contains no allegations or averments against

  Defendants Williby and Calcamuggio, and therefore no response is required. To the extent a

  response is required, Defendants Williby and Calcamuggio deny the allegations and averments

  contained in the Prayer for Relief in the Complaint.

                                       GENERAL DENIAL

         Defendants Williby and Calcamuggio deny each and every allegation not specifically

  admitted herein.

                                   AFFIRMATIVE DEFENSES

         1.      Plaintiff's Complaint fails to state a valid claim upon which relief may be granted.

         2.      Plaintiff has failed to reasonably mitigate his damages, if any, and has failed to
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  exercise due diligence in an effort to mitigate his damages, and to the extent of such failure to

  mitigate, any damages awarded to Plaintiff should be reduced accordingly.

          3.     Plaintiff’s injuries, damages and losses, if any, are the result of Plaintiff’s own

  unlawful and intentional and/or negligent conduct.

          4.     Defendants Williby and Calcamuggio, in their individual capacities, are entitled to

  qualified immunity as their actions did not violate Plaintiff’s clearly established statutory or

  constitutional rights. Defendants’ actions were at all times undertaken with a good faith belief in

  the lawfulness of their actions and such actions were objectively reasonable under the

  circumstances with which they were confronted.

          5.     Defendants Williby and Calcamuggio, were at all times properly exercising their

  public duties pursuant to C.R.S. § 18-1-701. Further, Defendants were properly exercising their

  police powers and authority vested in them by virtue of C.R.S. §§ 16-3-101, 16-3-102, 16-3-103

  and C.R.S. § 18-1-707.

          6.     Plaintiff’s damages, if any, were not approximately caused by any act or omission

  of Defendant Williby or Defendant Calcamuggio.

          7.     Plaintiff’s damages, if any, are not to the extent and nature as alleged by the

  Plaintiff.

          8.     At all times material, Plaintiff was accorded all rights, privileges and immunities

  guaranteed him by the Constitution and laws of the United States of America.

          9.     Defendants Williby and Calcamuggio’s actions were at all times legally privileged

  and authorized.

          10.    Plaintiff's claims against Defendants Williby and Calcamuggio are substantially

  frivolous and groundless, entitling Defendants to recover their reasonable expenses, including
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  attorneys’ fees, pursuant to 42 U.S.C. §1988 and Fed. R. Civ. P. Rule 11.

         11.     Defendants Williby and Calcamuggio reserve the right to assert any and all

  additional affirmative defenses, and to amend this pleading as additional defenses arise as the result

  of discovery in this matter.

                                           JURY DEMAND

         Defendants Williby and Calcamuggio hereby demand that this case be tried to a jury

  pursuant to Fed. R. Civ. P. 38.

         Dated this 4th day of December, 2017.


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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 4th day of December, 2017, I electronically filed the foregoing
  DEFENDANTS’ ANSWER TO PLAINTIFFS COMPLAINT AND JURY DEMAND with
  the Clerk of Court using the CM/ECF system which will send notification of such filing to the
  following:


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